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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


MADELYNNE BOYKIN,

       Plaintiff,
                                              CIVIL ACTION FILE
V.

                                              NO. 1:22-CV-2489-MHC
 KREYOL ESSENCE INC.,

       Defendant.



                                      ORDER

      This case comes before the Court on Defendant Kreyol Essence Inc.


("KreyoP'ys Motion to Dismiss [Doc. 11].

I. BACKGROUND1

      Plaintiff is seeking recovery for the allegedly improper use of her "image,


likeness, and identity" by Kreyol "as part of a nationwide campaign to market and


promote its beauty products," resulting in Kreyol receiving an "unjust economic


windfaU[.r Compl. ^ 1-2, 8.



 Because this case is before the Court on a motion to dismiss, the facts are
presented as alleged in Plaintiff Madelynne Boykin's Complaint [Doc. 1]. See
Silberman v. Miami Dade Transit, 927 F.3d 1123, 1 128 (11th Cir. 2019) (citation
omitted).
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      A. The Parties and Their 2019 Business Dealings

      Plaintiff is a model, photographer, and "influencer." Id ^ 10. Kreyol is a

"producer and seller of Haitian beauty products, including hair and skincare


products." Id ^ 17. In September 2019, Kreyol e-mailed Plaintiff to ask if she


would be willing to promote KreyoPs products on her Instagram page. Id. ^ 28;

see also e-mail from partnerships@kreyolessence.com to Plaintiff (Sept. 22, 2019)

[Doc. 1-2 at 4].2 Kreyol offered to pay Plaintiff $300 to post both a photograph

and a video about Kreyol's beauty products on her Instagram page (the


"Deliverables"). IcL ^ 29; see also E-mail from partnerships@kreyolessence.com


to Plaintiff (Oct. 16, 2019) [Doc. 1-1 at 2]. Plaintiff agreed to these terms, and on

October 23, 2019, Plaintiff and her marketing agency, Bleum Creative, executed an

Influencer Term Sheet which memorialized the terms of the agreement (the



2 Generally, the district court must convert a motion to dismiss into a motion for
summary judgment if it considers materials outside the complaint. Fed. R. Civ. P.
12(d); Day v. Tavlor, 400 F.3d 1272, 1276 (11th Cir. 2005). "However, the district
court may always consider exhibits attached to the complaint on a 12(b)(6) motion,
because exhibits are part of the pleadings." Basson v. Mortg. Elec. Registration
Svs., Inc., 741 F. App'x 770, 770-71 (11th Cir. 2018) (citing Fed. R. Civ. P. 10(c));
see also Thaeter v. Palm Beach Cnty. Sheriffs Office, 449 F.3d 1342, 1352 (11th
Cir. 2006) (internal punctuation, footnote, and citation omitted) ("When
considering a motion to dismiss, all facts set forth in the plaintiffs complaint are to
be accepted as tme and the court limits its consideration to the pleadings and
exhibits attached thereto."). Here, Plaintiff attached the e-mail, and multiple other
exhibits to the Complaint. The Court considers these attachments.
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"Bleum Agreement") [Doc. 1-3]. Id H 30. The Bleum Agreement required


Plaintiff to keep the Deliverables public for at least one year after posting, and

stated that the term of the campaign was from September 1, 2019, to December 1,


2019, but did not include requirements for photographs beyond the Deliverables.

Id ^31-32; see also Bleum Agreement §§ 4.2, 6.1, 6.2. In addition, the Bleum


Agreement "granted Defendant (as the 'Client') full intellectual property rights to

the Instagram Deliverables." ]A ^ 33; see also Bleum Agreement § 7.3 On


November 21, 2019, Plaintiff posted the Deliverables [Doc. 1-4 at 2] on her

Instagram page in compliance with the Bleum Agreement. IcL ^ 34. On December

24, 2019, Kreyol reposted the Deliverables [Doc. 1-5 at 2] on its own Instagram

page. Id. T135.


      B. KreyoFs Increased Exposure after Shark Tank, and its Related
             Business Partnership with Ulta Beauty Inc. ("Ulta")

      In January 2020, after KreyoPs co-founders appeared on Shark Tank, a


reality television show featuring entrepreneurs, they received $400,000 from the

Shark Tank investors and the exposure from the show resulted in a significant


increase in sales. Id. ^ 18-22. In 2020, Kreyol expected to "further capitalize on




 The Court notes that there appears to be a typo within Section 7 of the Bleum
Agreement, where the author(s) inadvertently list these subsections as 8.1, 8.2, 8.3,
instead of 7.1,7.2, and 7.3.
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its expanding customer base" by investing approximately $100,000 on advertising,

social medial marketing, and influencer marketing. Id ^ 23. The increased

exposure resulted in a variety of distribution deals with companies including

Amazon, Whole Foods, JC Penney, and Urban Outfitters, as well as in Kreyol


becoming a "textured haircare supplier" to Ulta, "a nationwide retailer of


cosmetics and beauty products." Id. ^ 24-25. Kreyol was expected to launch its


products in Ulta stores nationwide on April 12, 2020. Id. ^ 36.

      C. The March 2020 E-mails

      On March 9, 2020, Kreyol initiated contact with Plaintiff, requesting that she

provide additional Instagram photographs and videos promoting Kreyol's products.

IcL ^ 36; see also E-mail from partnerships@kreyolessence.com to Plaintiff (March

9, 2020) [Doc. 1-6 at 2]. On March 20, 2020, Kreyol again e-mailed Plaintiff and

explained that it was re-organizing and updating what it referred to as "the ULTA

Launch Campaign" and evaluating timelines and priorities in light of the COVID-

19 pandemic. IcL ^ 37; see also E-mail from partnerships@kreyolessence.com to


Plaintiff, inter alia (March 20, 2020) [Doc. 1-7 at 2]. This exchange was the last

communication that Plaintiff and Kreyol had related to the ULTA launch

campaign. Id. ^38.




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      D. The Alleged Misuse of Plaintiffs Likeness

      Approximately ten months later, on or around January 8, 2021, Plaintiff

visited the Ulta store at 1751 WP Ball Boulevard, Sanford, Florida, where she saw

a photograph of herself (the "Appropriated Photograph") beside a product label for

KreyoPs Haitian Black Caster Oil Scalp Care Shampoo featured on one of the

haircare aisles (the "Sanford Ulta Advertisement") [Doc. 1-8 at 2]. Id, ^ 39-40.4


The Appropriated Photograph was also featured in the same advertisement six


weeks later at an Ulta store located at 2540 Cumberland Boulevard Southeast,

Smyma, Georgia (the "Smyma Ulta Advertisement") [Doc. 1-9 at 2]. Id, ^ 41.

Kreyol "never sought or received permission from Plaintiff to use the Appropriated

Photo or any other image from Plaintiffs Instagram account other than the


Instagram Deliverables." Id. ^ 47.


      The Appropriated Photograph itself was taken by photographer Blake

Ballard ("Ballard") during a modeling session with Plaintiff in 2015. Id, ^ 42.

Plaintiff alleges that at the time the photograph was taken, she had not heard of

Kreyol or its business. IcL ^ 7. On December 14, 2015, Plaintiff first posted the




4 For clarity, the Court notes that the Appropriated Photograph image of Plaintiff is
a different image of her than the Deliverables image. Compare Sanford Ulta
Advertisement, with the Deliverables.
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Appropriated Photograph to her Instagram page (the "December 14, 2015, Post")

[Doc. 1-10 at 2], and she reposted the Appropriated Photograph to her Instagram

page on November 26, 2019 (the "November 26, 2019, Post") [Doc. 1-11 at 2],

with a caption that read, "My many hair stages. Do I want to go short again.


Maybe shoulder length." Id. ^ 43-44. Although Kreyol commented on Plaintiffs


Instagram post featuring the Appropriated Photograph on November 27, 2019, id.

H 45, neither Plaintiffs December 14, 2015, Post nor the November 26,2019, Post

mention Kreyol or its products. ]A ^ 48; see also December 14, 2015, Post;


November 26, 2019, Post. Moreover, neither post indicated a relationship between


Plaintiff and Kreyol, and neither post indicated Plaintiff used Kreyol Haitian Black

Caster Oil Scalp Care Shampoo. Id. ^ 49. In fact, Plaintiff has never publicly

endorsed KreyoPs Haitian Black Castor Oil Scalp Care Shampoo or credited the

product for her appearance in the Appropriated Photograph. Id. ^ 50.


      Plaintiff alleges that Kreyol "intentionally chose not to even propose [] an

agreement with Plaintiff for the use of her stolen image, evidencing its sole goal of

avoiding paying her a reasonable fee for her services." Id ^ 4. By bypassing the

negotiation process, Kreyol allegedly "deprived Plaintiff of her right to control the

use of her likeness, disregarded her right to protect her brand and reputation, and


robbed her of the compensation a model of like stature can expect from such a
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campaign." Id ^ 5. In addition, Plaintiff alleges that using the Appropriated

Photograph in the Ulta advertisements made it appear as though Plaintiff approves

of the featured Kreyol product and that her appearance in the Appropriated

Photograph was as a result of use of the product, despite the fact that she has


"never endorsed" the product. Id ^ 6. Plaintiff alleges that KreyoPs "theft" of the

Appropriated Photograph and "deceptive behavior" resulted in the company

receiving an "economic windfall." Id. ^ 8.


      E. Subsequent Communications Between Plaintiff, Ballard, and
             Kreyol

      "Outraged" by KreyoPs "brazen use" of the Appropriated Photograph,


Plaintiff contacted Ballard. Id ^ 51. Ballard was unaware ofKreyol's


advertisement using the Appropriated Photograph. Id. Plaintiff alleges that "on

information and belief," Kreyol and Ballard then reached an agreement related to


any claims that he may have had with respect to KreyoPs use of the Appropriated

Photograph. Id, H 52.


      Plaintiffs counsel then sent two cease-and-desist letters to KreyoPs


founders, with the first on March 17, 2021, and the second on April 21, 2021. Id.

TI 53; see also Letter from Racquel V. McGee to Yve Car Momperousse and

Stephane Jean-Baptiste (March 17, 2021) ("First Demand Letter") [Doc. 1-13 at 2-

4]; Letter from Racquel V. McGee to Yue Car Momperousse and Stephane Jean-

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Baptiste (April 21, 2021) ("Second Demand Letter") [Doc. 1-14 at 2-4]. The

letters: (1) articulated KreyoPs wrongdoing, (2) demanded that Kreyol

"immediately cease its unauthorized use of Plaintiff s likeness," and (3) demanded

Kreyol "pay compensatory and actual damages to Plaintiff for the commercial

value of the Appropriated Photo and the use of Plaintiff s likeness in the


advertising campaign." ]A ^ 54; see also First Demand Letter; Second Demand

Letter. Plaintiff alleges that Kreyol ignored both of the cease-and-desist letters.


Id^55.

      Based on the foregoing, Plaintiff filed her Complaint against Kreyol on June

22, 2022. In her Complaint, Plaintiff includes two federal claims pursuant to the

Lanham Act, 15 U.S.C. § 1125(a): false advertising (Count One) and false

endorsement (Count Two). Id. ^ 56-77. In addition. Plaintiff includes the

following claims brought pursuant to Georgia state law: misappropriation of

likeness (Count Three), unjust enrichment (Count Four), civil theft (Count Five),

conversion (Count Six), punitive damages (Count Seven), and attorney's fees and

costs (Count Eight). Id ^ 78-115. Finally, Plaintiff brings several claims

pursuant to Florida state law: unauthorized publication of likeness (Count Nine),

invasion of privacy - appropriation (Count Ten), civil theft (Count Eleven),




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conversion (Count Twelve), unjust enrichment (Count Thirteen), and punitive

damages (Count Fourteen). Id. ^ 116-60.5


II. LEGAL STANDARD

      Federal Rule of Civil Procedure 8(a)(2) requires that a pleading contain a

"short and plain statement of the claim showing that the pleader is entitled to

relief." Under Federal Rule of Civil Procedure 12(b)(6), a claim will be dismissed

for failure to state a claim upon which relief can be granted if it does not plead

"enough facts to state a claim to relief that is plausible on its face." Bell Ati. Corp.


v. Twombly, 550 U.S. 544, 570 (2007). The Supreme Court has explained this

standard as follows:


      A claim has facial plausibility when the plaintiff pleads factual content
      that allows the court to draw the reasonable inference that the defendant
      is liable for the misconduct alleged. The plausibility standard is not
      akin to a "probability requirement," but it asks for more than a sheer
      possibility that a defendant has acted unlawfully.




5 However, Plaintiff "consents to the dismissal of the Florida state-law claims,"
conceding that they are improperly asserted in light of the fact she felt the harm of
KreyoPs actions in the state of Georgia. Resp. in Opp'n to Def.'s Mot. to Dismiss
("PL'S Opp'n") [Doc. 12] at 2. She states that she "voluntarily dismisses these
Florida claims without prejudice." Id. Because Kreyol does move to dismiss these
claims, Def. Kreyol Essence Inc.'s Mem. of Law in Supp. of Mot. to Dismiss
("Def.'s Mem.") [Doc. 11-1] at 15-17, and Plaintiff consents to their dismissal, the
Court GRANTS KreyoPs Motion to Dismiss as to Counts Nine through Fourteen.
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Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal citation omitted). Thus, a

claim will survive a motion to dismiss only if the factual allegations in the pleading

are "enough to raise a right to relief above the speculative level." Twombly, 550


U.S. at 555.


      At the motion to dismiss stage, the court accepts all well-pleaded facts in the

Plaintiffs' Complaint as true, as well as all reasonable inferences drawn from those


facts. McGinlev v. Houston, 361 F.3d 1328, 1330 01th Cir. 2004); Lotierzo v.


Woman's World Med. Ctr., Inc, 278 F.3d 1180, 1182 (llth Cir. 2002). Not only

must the court accept the well-pleaded allegations as true, but these allegations

must also be construed in the light most favorable to the pleader. Powell v.


Thomas, 643 F.3d 1300, 1302 (llth Cir. 2011). However, the court need not

accept legal conclusions, nor must it accept as true legal conclusions couched as


factual allegations. Iqbal, 556 U.S. at 678. Thus, evaluation of a motion to dismiss


requires the court to assume the veracity ofwell-pleaded factual allegations and


"determine whether they plausibly give rise to an entitlement to relief." Id. at 679.


III. DISCUSSION

      Kreyol moves to dismiss Plaintiffs complaint in its entirety. Def.'s Mem. at


1-3. Kreyol argues that the two federal Lanham Act claims (Counts One and Two)


fail as a matter of law due to Plaintiffs failure to plead the requisite elements. Id.


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at 2. Kreyol further argues that the state law claims are preempted by federal


copyright law and should be dismissed. Id. Finally, Kreyol offers arguments in

the alternative that dismissal of certain individual state law claims is warranted

even if the claims are not preempted. Id. Plaintiff argues that the state law claims

are not preempted, and otherwise argues she has pled the necessary elements of her


claims. See generally, Pl.'s Opp'n.


      A. Plaintiff Sufficiently States a Claim for False Advertising Under
            the Lanham Act (Count One).

      In Count One, Plaintiff brings a claim for false advertising pursuant to the

Lanham Act. Compl. ^ 56-67. In relevant part, Section 43 (a) of the Lanham Act

provides:


      (1) Any person who, on or in connection with any goods or services, or
      any container for goods, uses in commerce any word, term, name,
      symbol, or device, or any combination thereof, or any false designation
      of origin, false or misleading description of fact, or false or misleading
      representation of fact, which—




             (B) in commercial advertising or promotion, misrepresents the
             nature, characteristics, qualities, or geographic origin of his or
             her or another person's goods, services, or commercial activities,


      shall be liable in a civil action by any person who believes that he or
      she is or is likely to be damaged by such act.

15U.S.C.§ 1125(a)(l)(B).

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      To succeed on a false advertising claim under § 43(a)(l)(B) of the
      Lanham Act, a plaintiff must establish that (1) the advertisements of the
      opposing party were false or misleading; (2) the advertisements
      deceived, or had the capacity to deceive, consumers; (3) the deception
      had a material effect on purchasing decisions; (4) the misrepresented
      product or service affects interstate commerce; and (5) the movant has
      been — or is likely to be — injured as a result of the false advertising.


Hickson Corp. v. N. Crossarm Co., 357 F.3d 1256, 1260 (11th Cir. 2004) (citations

omitted).

             1. The Complaint Sufficiently Alleges that KreyoPs Use of the
                  Appropriated Photograph Conveyed An Actionable
                   Statement Sufficient to State a Claim Under the Lanham
                    Act.


      Challenging the first element of a cause of action for false advertising under

the Lanham Act, Kreyol argues that the Complaint fails to allege "any actionable

statement of fact," contending that the Complaint fails to allege that the

Appropriated Photograph stated Plaintiff used the shampoo or that consumers

using the shampoo will achieve the same texture and appearance. Def/s Mem. at


8. In particular, Kreyol contends that merely displaying the Appropriated

Photograph next to the Shampoo product label, "without any accompanying text or


statements at all," does not convey any facts. Id. at 9-10.6




6 The Court notes that while there is no text included on the Appropriated
Photograph itself, the advertisement that included the Appropriated Photograph
does include text. See Sanford Ulta Advertisement; Smyma Ulta Advertisement.


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      Plaintiff responds that KreyoPs reading of the Lanham Act is

"impermissibly narrow" because the Lanham Act itself states that a "qualifying

advertisement can include 'any word, term, name, symbol, or device, or any . . .


false or misleading representation of fact/" Pl.'s Opp'n at 8 (quoting 15 U.S.C.


§ 1125(a)(l)(B)). Plaintiff argues that an advertisement can be actionable even if it

does not contain words and that courts "routinely" assess photographs and videos


to assess whether they constate false advertisements. Id. at 8-9 (citing, inter alia,


Suntree Techs. Inc. v. Ecoscense Int'l Inc., 693 F.3d 1338, 1348-50 (11th Cir.


2012)). She contends that the inclusion of the Appropriated Photograph next to a

description of its Black Caster Oil Scalp Care Shampoo in the Ulta advertisements

could be viewed by consumers as a statement that Plaintiffs appearance is a result


of the product—which is a verifiable representation. Id at 9 (citing Compl. ^ 6,

40,41,59,61,64).

      Despite KreyoPs argument to the contrary, images (including images

without text) can indeed convey statements that form the basis of a false

advertisement claim under the Lanham Act. See, e.s.. Unique Sports Prods., Inc.


v. Wilson Sportins Goods Co, 512 F. Supp. 2d 1318, 1326 (N.D. Ga. 2007)

(finding that the defendant's act of featuring tennis legend Pete Sampras's picture

on the packaging of the defendant's tennis ball-hopper "certainly could have


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been misleading, given Sampras's exclusive [licensing] relationship with plaintiff,"

but granting the defendant's motion for summary judgment on the plaintiffs false


advertisement claim because there was no evidence of deception); see also Logan

v. Burgers Ozark Country Cured Hams Inc, 263 F.3d 447, 461 (5th Cir. 2001)

(finding that using catalog photos of sliced turkey breast, featuring photos of sliced

turkey breasts on its website, having a drawing of a spiral sliced turkey breast as


part of its corporate trademark, and using packaging that mentioned spiral slicing,


"was sufficient evidence for the jury to conclude that HoneyBaked made a false


statement of fact about its product in a commercial advertisement" in light of the


fact that HoneyBaked no longer sold spiral sliced meat).

      Looking at the image in question in a light most favorable to Plaintiff and

drawing all reasonable inferences in her favor, the Court finds that the Complaint

sufficiently alleges that the inclusion of the Appropriated Photograph in KreyoPs

Ulta advertisements conveyed statement(s) or representation(s) as defined under

the Lanham Act related to Plaintiffs endorsement and use ofKreyol Haitian Black

Caster Oil Scalp Care Shampoo. See, e.g., Taylor v. Trapeze Mgmt, LLC, No.


0:17-CV-62262-KMM, 2018 WL 9708619, at *2-4 (S.D. Fla. Mar. 26, 2018)

("Taylor I") (denying a motion to dismiss and allowing the false advertising claims

to proceed under the Lanham Act based on allegations of "the Defendants'


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unauthorized use of Plaintiffs' images, likeness and/or identities to advertise or


promote Defendants' business on websites and social media accounts" which


included "placing them on Defendants' flyers and promotional materials which


implied that Plaintiffs were employees, entertainers, contractors and/or nudists"

and making no mention of text on the images); Burciaga v. Gold Club Tampa, Inc.,

No. 8:16-CV-790-T-27JSS, 2016 WL 9526567, at *2-3 (M.D. Fla. Dec. 28, 2016)

(denying a motion to dismiss and finding that the allegations about the use of

images, likeness, and/or identities of the plaintiffs by the defendants constituted

false and misleading statements because the use suggested the plaintiffs were

associated with the defendants' strip club and making no mention of text on the

images); Edmonson v. Velvet Lifestvles, LLC, No. 15-24442-CIV-


LENARD/GOODMAN, 2017 WL 11680315, at *7 (S.D. Fla. July 28, 2017), rev'd

and remanded sub nom. on other grounds, Edmondson v. Velvet Lifestyles, LLC,


43 F.4th 1153 (11th Cir. 2022) ("The mere inclusion of a photograph of an

individual in an advertisement, without more, is ambiguous. It could represent that


the individual endorses the product or business, that they will be attending the

event being advertised, that they are sponsored by the business, that they are


employed by the business, or that they have no affiliation with the product or

business but permitted the use of their photograph in the advertisement."); see also


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Compl. ^ 6 (alleging that the use of Plaintiff s image, likeness, and identity in the

Appropriated Photograph conveys that Plaintiff approves of and uses Haitian Black

Caster Oil Scalp Care Shampoo, 59 (alleging that the including Appropriated

Photograph in the Ulta advertisements communicates that Plaintiff used Haitian

Black Caster Oil Scalp Care Shampoo to achieve her appearance). Accordingly,

the Court finds the allegations about the inclusion of the Appropriated Photograph

in the Ulta advertisements for Kreyol's shampoo are sufficient to allege an


actionable statement, and therefore rejects Kreyol's argument that the Complaint


fails to allege there is any actionable statement of fact.7



7 Kreyol makes no substantive argument in its memorandum that the inclusion of
the Apporpriated Photograph in the Ulta advertisement is not false or at least
misleading, only arguing that "Plaintiff fails to allege that Defendant made any
specific statement of verifiable fact—much less one that is false." Def.'s Mem. at
9. Viewing the allegations about Appropriated Photograph in a light most
favorable to Plaintiff and drawing all reasonable inferences in her favor, the
Complaint sufficiently alleges that KreyoPs use of the Appropriated Photograph in
its Ulta advertisements is misleading because consumers viewing the Appropriated
Photograph could conclude that Plaintiff approves ofKreyol's hair product, used it
to achieve her look in the Appropriated Photograph, or permitted the use of her
photograph for the advertisement. See Compl. ^ 6, 40-41, 59 (altogether alleging
that the Appropriated Photograph was used to market a natural hair product called
Haitian Black Caster Oil Scalp Care Shampoo, and that in using the Appropriated
Photograph in this way, Kreyol has suggested that Plaintiff approves of the product
and used it to obtain her look in the Appropriated Photograph); see also Geiger v.
Goldfmser'sS.,Inc..No. 1:18-CV-23745-UU, 2019 WL 13237844, at *5-6
(finding that the defendants use of a cropped version of a photograph of the
plaintiff which had been modified to make her image semi-transparent and
superimpose images of a limes, vodka and text that read "$100 Bottles special,"

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             2. Plaintiff Has Sufficiently Alleged She Has Been or Is Likely
                    to Be Injured.


      Kreyol argues that the false advertisement claim should be dismissed

because Plaintiff only includes a single conclusory allegation that KreyoFs use of

her image "has injured and is likely to injure Plaintiffs brand and reputation," and

such a conclusory allegation is not sufficient to state a claim. Def.'s Mem. at 11


(quoting Compl. ^ 64). Plaintiff responds by first pointing out that for claims

brought under the Lanham Act, she must only plead that she is likely to be injured.

Pl.'s Opp'n at 10. Plaintiff then references the following allegations in the

Complaint to show that she has sufficiently alleged injury:

      • Nevertheless, Kreyol Essence intentionally chose not to even
          propose such an agreement with Plaintiff for the use of her stolen
          image, evidencing its sole goal of avoiding paying her a reasonable
          fee for her services.


      ® By circumventing the typical arms-length negotiation process,
          Kreyol Essence deprived Plaintiff of her right to control the use of
          her likeness, disregarded her right to protect her brand and
          reputation, and robbed her of the compensation a model of like
          stature can expect for such a campaign.




created a jury question about whether the use was a misleading statement because
"[a] consumer viewing the Image could easily conclude that the plaintiff endorsed
[the defendant's] club, that [the plaintiff] would be performing as an exotic dancer
at the event advertised, or simply that [the plaintiff] agreed to permit the use of her
photograph for the advertisement.").

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      • Kreyol essence's unauthorized use of Plaintiffs likeness to
          perpetuate the false and/or misleading representation that her
          appearance resulted from use of Haitian Black Caster Oil Scalp Care
          Shampoo has injured and is likely to injure Plaintiffs brand and
          reputation.


Compl. HH 4, 5, 64; see also PL'S Opp'n at 11.


      "Actual injury is not a necessary element of a false advertising claim."


Schutz Container Svs., Inc. v. Mauser Corp., No. 1:09-CV-3609-RWS, 2012 WL


1073153, at *35 (N.D. Ga. Mar. 28, 2012). Declining sales or loss of goodwill that

are causally related to the false or misleading advertisement will suffice to satisfy

the last prong of the false advertisement test. Tire Kingdom, Inc. v. Morgan Tire


& Auto, Inc., 915 F. Supp. 360, 364 (S.D. Fla. 1996), affd, 136 F.3d 139 (11th

Cir. 1998) (unpublished).

      This Court finds that Plaintiffs allegations sufficiently allege the element of

injury because she has alleged that her brand and reputation has been injured

(which is akin to loss of goodwill). Compl. ^ 64; Tire Kingdom, 915 F. Supp. at

364; see also TracFone Wireless, Inc. v. Adams, 98 F. Supp. 3d 1243, 1251 (S.D.


Fla. 2015) (finding there was evidence to show the loss of goodwill). In addition,

Plaintiff alleges that customers are likely to purchase Kreyol Haitian Black Caster

Oil Scalp Shampoo based on the misrepresentation that Plaintiffs look in the

Appropriated Photograph came from the product. Compl. ^ 62. Plaintiff also


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includes allegations of economic injury in the form of compensation she is entitled

to but did not receive. Id. ^4-5.


       Accordingly, the Court DENIES KreyoPs Motion to Dismiss Count One.

See Matonis v. Care Holdings Grp., L.L.C, 423 F. Supp. 3d 1304, 1314 (S.D. Fla.


2019) (denying defendant's motion to dismiss and finding that "at this stage of the

litigation" the plaintiff had "satisfied her burden" of showing "injury or the

possibility of injury").

       B. Plaintiff Sufficiently States a Claim for False Endorsement Under
              the Lanham Act (Count Two).

       In Count Two, Plaintiff brings a claim for false endorsement pursuant to the


Lanham Act. Compl. ^ 68-77. Kreyol argues that Plaintiffs Compliant does not


plead facts that support a likelihood of confusion, and therefore fails to state a

claim for false endorsement. Def.'s Mem. at 13-14 (citing, inter alia, Tana v.


Dantanna's, 611 F.3d 767, 777 n.9 (11th Cir. 2010)). Kreyol avers that there are

not enough facts for the Court to infer that "Plaintiff is recognized personally on a

nationwide scale such that American consumers would be confused as to Plaintiffs


endorsement of the Shampoo." Id. at 13. Plaintiff constmes Kreyol's argument as


"shoehom[ing] a new element [of recognition] into the false endorsement

analysis[.]" Pl.'s Opp'n at 12. She instead characterizes her own recognition as




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"relevant" but not "essential." Id, at 13. Plaintiff argues she has properly stated a


claim for false endorsement. Id. at 12-13.


      We have yet to recognize a separate claim for false endorsement under
      the Lanham Act that is distinct from trademark infringement. See Tana,
      611 F.3d at 777 n.9. But generally such a claim involves proof that the
      defendant used the name or likeness of a person in a manner that is
      likely to cause confusion among consumers as to the affiliation,
      connection, or association between that person and the defendant's
      goods or as to that person's sponsorship or approval of the defendant's
      goods. See generally Unique Sports Prods., Inc., 512 F. Supp. 2d at
       1324 (citing cases from the Sixth and Ninth Circuits).

Edmondson, 43 F.4th at 1160; see also Tana, 611 F.3d at 777 (noting that courts in

this circuit "have . . . never recognized a separate claim of false endorsement,


distinct from trademark infringement under § 43 (a)").

      In order to prevail on federal claim of trademark infringement and
      unfair competition, a trademark owner must show (1) that it had
      trademark rights in the mark or name at issue and (2) that the other party
      had adopted a mark or name that was the same, or confusingly similar
      to its mark, such that consumers were likely to confuse the two.


Tana, 611 F.3d at 777 (citations omitted).

      When determining whether there is a likelihood of confusion between
      two marks for purposes of an infringement claim, we consider seven
      factors: (1) the strength of the mark alleged to have been infringed; (2)
      similarity of the infringed and infringing marks; (3) similarity between
      the goods and services offered under the two marks; (4) similarity of
      the actual sales methods used by the holders of the marks; (5) similarity
      of advertising methods; (6) the intent of the alleged infringer to
      misappropriate the proprietor's good will; and (7) the existence and
      extent of actual confusion in the consuming public. Tana, 611 F.3d at
      774-75.

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Webster v. Dean Guitars, 955 F.3d 1270, 1278 (11th Cir. 2020). "The issue of


likelihood of confusion is not determined by merely analyzing whether a majority

of the subsidiary factors indicates that such a likelihood exists. Rather, a court

must evaluate the weight to be accorded the individual factors and then make its

ultimate decision." Suntree, 693 F. 3 d at 1346 (internal citation and quotation

omitted).

      Rather than analyzing the claim using the likelihood of confusion factors as

the Eleventh Circuit instructs, KreyoPs argument centers exclusively around


recognition. Def.'s Mem. at 12-14 ("The facts alleged are not enough for the court


to credibly infer that Plaintiff is recognized personally on a nationwide scale such

that American consumers would be confused as to Plaintiffs endorsement of the


Shampoo."). However, recognition is not an essential element of a false


endorsement claim, but rather is one of four factors that courts consider in


weighing the first of the seven likelihood of confusion factors. In Tana, one of the


cases relied on by Kreyol, the Eleventh Circuit considered the strength of the mark

as one of seven factors in the likelihood of confusion analysis. Tana, 611 F.3d at


776. Tana explained that courts must consider the mark's inherent distinctiveness


and if a court concludes that the mark is merely descriptive, then they evaluate




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whether the mark has obtained any secondary meaning using four additional

factors, among which "the degree of actual recognition by the public that the name

designates the proprietor's product or service" is one. Tana, 611 F.3d at 776


(internal citations and quotations omitted). This belies KreyoPs argument that

likelihood of confusion is not sufficiently alleged based on lack of recognition

alone.


         Moreover, in doing the appropriate analysis, the Court concludes that


Complaint sufficiently alleges that there is likelihood of confusion because the

Complaint includes allegations that show Plaintiff has a strong mark, there is

strong similarity between the marks, and strong similarity between advertising

methods, in addition to alleging several of the other factors.


               1. Strength of the Mark

         Here, the mark is Plaintiffs likeness, identity, or persona. See, e.g., Compl.


HT[ 70-71 (alleging that "Plaintiff owns her own image and likeness" and uses them

"for commercial purposes"). At its core, KreyoPs argument about Plaintiffs lack


of recognition is essentially an argument that Plaintiff does not have a strong mark

given her lack of recognition. See, e.g., Taylor II, 2019 WL 1468515,at *5


("Defendants' essentially argue that because Plaintiffs are not celebrities, Plaintiffs

do not have a strong mark."); see also Gibson, 2018 WL 888872,at *7


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(interpreting the defendant's argument that the plaintiffs' claim should not succeed

because they are not "recognizable celebrities" to be an argument for a weak


mark).


         "[D]etermining the strength of a mark requires a consideration of the
      mark's inherent distinctiveness." Tana, 611 F.3d at 776. This analysis
         is not easily applied where the marks are the Plaintiffs' identities.
         However, "[a] descriptive mark with secondary meaning is a relatively
         strong mark." Id. The strength of the mark is dependent upon the
         showing of a secondary meaning. Id. The Court considers four factors
         in determining whether there is secondary meaning in a plaintiffs
         mark: "(I) the length and the nature of the [mark's] use, (2) the nature
         and extent of advertising and promotion of the [mark], (3) the efforts of
      the proprietor to promote a conscious connection between the [mark]
         and the business, and (4) the degree of actual recognition by the public
         that the [mark] designates the proprietor's product or sendce." Id.
         (internal quotations omitted).

Tavlor II, 2019 WL 1468515, at *5. Here, Plaintiff has alleged that she is a model,

photographer, and influencer, Compl. ^ 3, thus showing she is in the business of

marketing her own brand. Plaintiff has alleged that she "owns her image and

likeness" and that she exercises control over them by using them "to selectively


promote her personal brand" and further alleges that she "uses her image and


likeness for commercial purposes." Id. ^ 70-71. She alleges that she has


"commercialized her image and likeness" over her 20-year-long career. Id. ^ 72.


The allegations include details of the many features of Plaintiff in prominent media

outlets. ]A ^ 71. Additionally, Plaintiff includes allegations related to her "right to


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control the use of her likeness." Id ^ 5. Even assuming arguendo that Kreyol is


correct and Plaintiff does not allege sufficient recognition, the Court still concludes

the allegations "satisfied the first three factors to show distinctiveness." Taylor II,

2019 WL 1468515,at*5.

             2. Similarity of Infringed Marks

      Because Plaintiff alleges that Kreyol used her image (the Appropriated

Photograph) in its advertisements, this element also weighs in Plaintiffs favor.

See Gibson, 2018 WL 888872, at *7 ("Because Defendants used the Plaintiffs'

actual images in their advertising, the similarity is about as strong as it can be.").

             3. Similarity of Advertising Methods

      Plaintiff alleges that she has "commercialized her image and likeness in the

same marketing and advertising channels as Kreyol Essence, including on social


media." Compl. ^ 72. She also includes detailed allegations about past business


dealings between her and Kreyol related precisely to social media promotion. Id.

^28-38. This factor also weights in Plaintiffs favor. See, e.g., TaylorII, 2019


WL 1468515, at * 6 (finding that this factor weighed in favor of the plaintiff

because both the plaintiff and the defendant used the same method of relying on

the internet via websites and social media to reach their followers).




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             4. Remaining Factors

      Drawing all reasonable inferences in Plaintiffs favor, several of the

remaining factors also support her position. For example, with respect to the


fourth factor, the allegations about Plaintiffs past dealings between her and

Kreyol show that they share a similar customer base. Compl. ^ 28-38;


Compare Taylor II ("Plaintiffs stated that they would not promote the

swinger lifestyle ... .As such. Plaintiffs are not targeting the same customer


base, and viewed in the light most favorable to Defendants, the fourth factor


favors Defendants."). With respect to intent to misappropriate Plaintiffs


goodwill, the Court can infer that KreyoPs goal was to "deriv[e] a benefit

from the plaintiffs business reputation," Caliber Auto. Liquidators, Inc. v.


Premier Chr/sler, Jeep, Dodge, LLC, 605 F.3d 931, 940 (llth Cir. 2010), in

light ofKreyoPs history of paying her for her reputation and her allegation

that Kreyol intended to avoid paying her a fee for her semces. Compl. ^ 4-


5, 28-38. With respect to actual confusion, Plaintiff has alleged that

KreyoPs action "has and is likely to confuse consumers as to Plaintiffs

association with Kreyol Essence Haitian Black Caster Oil Scalp Care

Shampoo." Id, ^74.




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       Given that "likelihood of confusion is not determined by merely

analyzing whether a majority of the subsidiary factors indicates that such a

likelihood exists," the Court concludes that the "weight" of the factors that

tilt in Plaintiffs favor are sufficient to find she sufficiently alleges likelihood


of confusion. Suntree, 693 F.3d at 1346 (internal citation and quotation

omitted).

       Accordingly, the Court DENIES Kreyol's Motion to Dismiss Count Two.

       C. The Georgia State Law Claims Are Not Preempted by the
            Copyright Act.

       Plaintiff brings the following Georgia state law claims: misappropriation of

likeness (Count Three), unjust enrichment (Count Four), civil theft (Count Five),

conversion (Count Six), punitive damages (Count Seven), and attorney's fees and


costs (Count Eight). Compl. ^ 78-115. Kreyol argues that Plaintiffs state-law

claims are preempted by the Copyright Act because "[e]ach of Plaintiff s state law

claims is based on Defendant's alleged use of the [Appropriated] Photograph—an

original work of authorship fixed in a tangible medium of expression." Def.'s


Mem. at 5-7. Plaintiff responds that her state law claims are not rooted in the


publication of the Appropriated Photograph, but rather in Kreyol's use of her

image and likeness, explaining that a person's likeness is "not a copyrightable

expression, regardless of the medium in which it is embodied, because it is not a
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work of authorship." Pl.'s Opp'n at 4-6 (citing, inter alia, Taylor I, 2018 WL

9708619,at*3).

      Section 301 of the Copyright Act operates to preempt state law claims

"based on a right found in the Act or an equivalent to such a right." Foley v.


Luster, 249 F.3d 1281, 1285 (11th Cir. 2001). The statute reads, in pertinent part,

as follows:


      [A] 11 legal or equitable rights that are equivalent to any of the exclusive
      rights within the general scope of copyright as specified by section 106
      in works of authorship that are fixed in a tangible medium of expression
      and come within the subject matter of copyright as specified by sections
      102 and 103, whether created before or after that date and whether
      published or unpublished, are governed exclusively by this title.
      Thereafter, no person is entitled to any such right or equivalent right in
      any such work under the common law or statutes of any State.


17U.S.C. § 301. In Crow v. Wainwrieht, 720 F.2d 1224, 1225-26 (llth Cir. 1983),

cert. denied, 469 U.S. 819 (1984), the Eleventh Circuit explained that a two-part

test should be utilized in evaluating whether a state-law claim is preempted by

Section 301. First, "[w]e must decide whether the rights at issue fall within the

'subject matter of copyright' set forth in sections 102 and 103," and second,

"whether the rights at issue are 'equivalent to' the exclusive rights of section 106."


Id,; see also Dunlap v. G&L Holding Grp., Inc, 381 F.3d 1285, 1293-94 (11th Cir.

2004) (same). Thus, the question before the Court is whether the contents of the



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protected rights at issue fall within the subject matter of copyright. The Court

answers this question in the negative.


      In Morris v. Sakar International, Inc., No. 1:11-CV-04140-SCJ, 2012 WL


13013013, at *5-7 (N.D. Ga. June 11, 2012), another court in this district rejected

the defendant's arguments that the plaintiffs state law misappropriation claim was

preempted by the Copyright Act, and instead held that the plaintiffs

misappropriation of likeness claim fell "outside the ambit of copyrighted subject

matter."8 In Morris, the plaintiff posed in an unrelated photoshoot for a non-party.


IcL at * 1. Like here, the defendant then used the image of the plaintiff without

permission in advertising its products. Id. The plaintiff also sent a demand letter

to the defendant, imploring the defendant to stop the use of his image. Id. In his

lawsuit, the plaintiff alleged that the defendant misappropriated his image from the

non-party's photoshoot, and "used it on its product's packaging for its own


commercial benefit." Id. at * 5. The defendant in Morris asserted the same


preemption argument as Kreyol does in this case:


      Defendant contends that although Plaintiff styles his claim as one for
      misappropriation of likeness under state law, the claim, as its heart, is


8 Although Morris was before the court on a motion to remand for lack of subject
matter jurisdiction and a request for sanctions, rather than on a motion to dismiss,
the Morris court's analysis of whether state law claims were preempted by the
Copyright Act is still relevant to this case.


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      one for copyright infringement stemming from "the unauthorized
      reproduction of [the non-party's] copyrighted photograph" of Plaintiff
      []. Thus, according to Defendant, the misappropriation of likeness
      claim is preempted by the Copyright Act.

Id, Relying on Brown v. Ames, 201 F.3d 654 f5th Cir. 2000), and Downing v.


Abercromibie & Fitch, 265 F.3d 994, 1000 f9th Cir. 2001), the Morris court


acknowledged the "distinction between a claim for copyright infringement of a

photograph, a pictorial work of authorship protected under the Copyright Act, and

a claim seeking redress for the use of a person's likeness which may be embodied


in that photograph." Id at *6 (citing Downing, 265 F.3 d at 1000). The court then

concluded the plaintiffs claim fit into the latter category:

      Like the plaintiffs in Brown and Downing, Plaintiff objects to his
      likeness pictured on Defendant's product packaging without his
      permission. Plaintiff does not seek to control Defendant's use of his
      photograph by asserting rights under the copyright laws. Rather,
      Plaintiff, a "well-known Delta employee," objects to his image being
      used by Defendant for its commercial gain. In the absence of binding
      precedent on this issue, the Court is persuaded by the analysis presented
      in Brown and Downing. As in those cases, Plaintiff seeks redress for
      the unauthorized use of his likeness. The subject matter of Plaintiff s
      misappropriation claim is his persona—an aspect which is not an
      "original work[ ] of authorship." 17 U.S.C. § 102.


Id. (footnote omitted).

      In Taylor I, the court reached the same conclusion, finding that multiple

state law claims rooted in the improper use of the plaintiffs "images, likeness


and/or identities" (including misappropriation ofname/likeness, civil theft,
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conversion, and unjust enrichment) could proceed and were not preempted by the


Copyright Act. See generally, Taylor I, 2018 WL 9708619, at * 5. The facts in

Taylor I are also very similar to the underlying case: the plaintiffs were

"professional models who earn a living by promoting their images and likenesses

to select clients, commercial brands, and entertainment outlets, as well as relying


on their reputations and brands for modeling" and who had "significant social

media followings." Id at *1. Accordingly, the plaintiffs' careers derived "value


stemming from the goodwill and reputation that each has built, both of which are

critical to establishing a brand." Id. Plaintiffs alleged that the defendants gained

an "economic windfall" by using the plaintiffs' images without having to

compensate the models. Id. at *2.


      The court "found that the Copyright Act does not apply to Plaintiffs' claims

because Plaintiffs' persona is not a tangible work under the Copyright Act." Id. at


*5.



      Here, the content of the protected rights, the images and likenesses,
      does not fall within the subject matter of copyright. The Copyright Act
      applies to causes of action based on "works of authorship fixed in any
      tangible medium of expression" including "pictorial, graphic, and
      sculptural works." 17 U.S.C. § 102(a). A photograph, as a pictorial
      work of authorship, is subject matter protected by the Copyright Act.
      17 U.S.C. § 101 (providing that "pictorial, graphic, and sculptural
      works include ... photographs"). Here, it is not the publication of the
      photograph itself as a creative work of authorship that is the basis for


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      Plaintiffs' claims, rather. Plaintiffs' claims are premised on the use of
      the Plaintiffs' likenesses pictured in the published photograph.

Id, at *2-5. See also Geieer, 2019 WL 13237844, at *9 (granting summary

judgment to a model based on the unauthorized publication of her name or likeness

and noting that there is "substantial authority" supporting the principle that a party

can enforce her interest in her likeness even if "that likeness is used in a


copyrighted photograph").

      Consistent with the rationale discussed in Morris and Taylor I, the Court

finds that the Georgia state law claims pled by Plaintiff seek to redress the likeness

in the Appropriated Photograph, and are not preempted by the Copyright Act.9

Morris, 2012 WL 13013013, at *6: Tavlor I, 2018 WL 9708619,at *2-5.

Accordingly, the Court DENIES KreyoPs Motion to Dismiss Counts Three

through Eight based on preemption.



9 Several courts within this circuit also have held that the Copyright Act does not
preempt many of the state law claims included in Plaintiffs Complaint. See, e.g.,
Howard v. Sterchi, 725 F. Supp. 1572, 1579 CN.D. Ga. 1989), afPd, 12 F.3d 218
(11th Cir. 1993) (finding that a claim for unjust enrichment was not preempted by
the Copyright Act); White v. Alcon Film Fund, LLC, No. 1:13-CV-1163-TCB,
2013 WL 12067479, at *6 (N.D. Ga. Aug. 13, 2013) (same); PHA Lighting
Desisn, Inc. v. Kosheluk, No. 1:08-CV-01208-JOF, 2010 WL 1328754, at *10
(N.D. Ga. Mar. 30, 2010) (same); see also Dunlap, 381 F.3d at 1297 (finding that a
claim for conversion was not preempted by the Copyright Act); Taylor I, 2018 WL
9708619, at * 5 (finding that a Florida conversion claim was not preempted by the
Copyright Act).

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         D. Alternative State Law Arguments


         Because KreyoPs preemption argument fails, the Court will consider its

alternative arguments as to the remaining state law claims.


               1. Plaintiffs Claim for Unjust Enrichment (Count Four) Fails
                      As a Matter of Law.


         First, Kreyol argues that Plaintiffs claim for unjust enrichment (Count Four)

fails as a matter of law because, inter alia, it is asserted as a separate tort claim


rather than an alternative theory for a failed contract. Def.'s Mem. at 17.


         In the absence of an enforceable contract, a plaintiff may recover, under
         a claim for unjust enrichment, a benefit conferred on the defendant for
         which the plaintiff did not receive a corresponding return. Ga. Tile
         Distribs., Inc. v. Zumpano Enters., Inc., 205 Ga. App. 487 (1992). To
         state a claim for unjust enrichment a plaintiff must "show that (1) a
         benefit was provided, (2) compensation for that benefit was not
         received, and (3) the failure to compensate renders the transaction
         unjust." Rails Corp. v. Huerfano River Wind, LLC, 27 F.Supp.3d 1303,
         1329 (N.D. Ga. 2014); Found. for Lost Boys v. Alcon Ent, LLC, 2016
         WL 4394486, at * 10 (N.D. Ga. March 22, 2016).

Hill for Credit Nation Cap., LLC v. Duscio, 292 F. Supp. 3d 1370, 1378 (N.D. Ga.

2018).

         A claim for unjust enrichment is not a separate tort, but an alternative
         theory of recovery if a contract claim fails. Tidikis v. Network for Med.
         Commc'ns & Research LLC, 274 Ga. App. 807, 811 (2005). Because
         plaintiff asserts unjust enrichment as a separate tort claim and not as an
         alternative theory of recovery for any failed contract, plaintiffs claim
         must be dismissed. See Wachovia Ins. Servs., Inc. v. Fallon, 299 Ga.
         App. 440, 449 (2009).

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Somerson v. McMahon, 956 F. Supp. 2d 1345, 1357 (TST.D. Ga. 2012); see also One


Step Up, Ltd. v. Wahoo Creek Trading Co., Inc., No. 2:18-CV-022-RWS, 2020


WL 13596325, at *5 (N.D. Ga. July 6, 2020) (dismissing a claim for unjust

enrichment because it was not brought as an alternative to recovery on a breach of


contract claim); Concordia Pharms. Inc., S.A.R.L. v. Winder Lab'ys, LLC, No.


2:16:-CV-004-RWS, 2018 WL 11351131, at *6 (N.D. Ga. Sept. 28, 2018) (same).

Plaintiff does not allege there was a contract between Plaintiff and Kreyol with

respect to the use of the Appropriated Photograph. The singular case relied on by

Plaintiff in opposition cites to a dissenting opinion, while the majority affirmed the

trial court's dismissal of the unjust enrichment claim. Collins v. Athens


Orthopedic Clinic, 356 Ga. App. 776, 779 (2020). Accordingly, this Court

GRANTS Kreyol's Motion to Dismiss Count Four.

             2. KreyoPs Motion to Dismiss Plaintiffs Request for Punitive
                    Damages (Count Seven) and Attorney's Fees (Count Eight)
                    is Without Merit.

      Kreyol argues that Counts Seven and Eights are derivative claims and should

be dismissed with the remaining state law claims. Def.'s Mem. at 20. However,


because the Court has not dismissed all the state law claims, KreyoPs motion lacks


merit. Kreyol also argues that Counts Seven and Eight should be dismissed

because they are "claims for relief, not stand alone-causes of action." Id


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      Although Plaintiff pleads her request for punitive damages and attorney's

fees as separate claims, the Court constmes them as prayers for relief.


      It is clear . . . that a request for punitive damages is not a 'claim5 within
      the meaning of [Federal Rule of Civil Procedure] 8(a)(2); it is only part
      of the relief prayed for in a claim." Cohen v. Office Depot, Inc., 184
      F.3d 1292, 1297 (llth Cir.1999), vacated in part on other grounds by
      204 F.3d 1069 (llth Cir.2000); see also Bowden v. City of Franklin,
      Ky.. 13 F. App'x 266, 276 (6th Cir. 2001) ("Count VI is not a claim for
      relief but a request for punitive damages.").


Schmidt v. C.R. Bard, Inc, No. 6:14-CV-62, 2014 WL 5149175, at *8 (S.D. Ga.


Oct. 14, 2014); see also Smith v. Liquid Transp. Corp, No. CV 17-00191-CG-B,


2018 WL 1163455, at *2 (S.D. Ala. Feb. 15, 2018), R&R adopted. No. CV 17-

0191-CG-B, 2018 WL 1162623 (S.D. Ala. Mar. 5, 2018) (construing a request for

punitive damages that was listed as a separate count as part of the relief demanded

because punitive damages is not a claim).


      While the Court agrees with Kreyol that Counts Seven and Eight are actually

prayers for relief, the dismissal of such prayers for relief is not proper when the


derivative claims remain.


      Rule 12(b)(6), a vehicle for testing whether a plaintiff is entitled to
      relief, see Acosta v. Campbell, 309 F. App'x 315, 317 (llth Cir. 2009),
      is an improper vehicle for challenging the sufficiency of a prayer for
      relief, which is merely part of the relief sought. Accordingly, "punitive
      damages is not a 'cause of action5 subject to dismissal under Rule
       12(b)(6)." Rathbone v. Havwood Cntv, 2008 WL 2789770, at *1
      (W.D.N.C. July 17, 2008) (treating motion to dismiss a prayer for


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      punitive damages as a motion to strike and ultimately striking the prayer
      as unrecoverable as a matter of law).


Branch v. O'Brien, No. 4:14-CV-147, 2014 WL 7405780, at *2 (S.D. Ga. Dec. 29,


2014). Accordingly, the Court DENIES Kreyol's motion as to Counts Seven and

Eight. See Crater v. Ga. Dep't ofTransp, No. 1:17-CV-5142-WSD-JKL, 2018


WL 11446924, at * 15 (N.D. Ga. May 3, 2018), R&R adopted as modified. No.

1:17-CV-5142-TCB, 2018 WL 11446846 (N.D. Ga. Sept. 19, 2018) (overruling

objections related to the R&R's recommendation that the motion to dismiss

punitive damages and attorney's fees should be denied).10


IV. CONCLUSION

      For the foregoing reasons, it is hereby ORDERED that Defendant Kreyol

Essence Inc.'s Motion to Dismiss [Doc. 11] is GRANTED IN PART and

DENIED IN PART. The motion is GRANTED as to Counts Four, and Nine




10 Plaintiff also states that if the Court grants, in whole or in part, KreyoPs Motion
to Dismiss, she would like an opportunity to amend her complaint to cure any
deficiencies. Pl.'s Opp'n at 15-16. However, "[f]iling a motion is the proper
method to request leave to amend a complaint." Mv24HourNews.com, Inc., 791 F.
App'x at 802-03 (11th Cir. 2019) (citations and internal quotations omitted).
Accordingly, Plaintiff is not entitled to such relief at this time.


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through Fourteen, but is otherwise DENIED.

      IT IS SO ORDERED this 1st day of March, 2023,




                                    A^^L
                                    MARK H. COHEN
                                    United States District Judge




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